Case No. 1:21-cv-01382-GPG-NRN Document 97-10 filed 07/20/23 USDC Colorado pg 1
                                    of 5




                      EXHIBIT J
Case No. 1:21-cv-01382-GPG-NRN Document 97-10 filed 07/20/23 USDC Colorado pg 2
                                    of 5




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Civil Action No. 21-cv-01382-GPG-NRN

  ANDREW SCHOBER,
                 Plaintiff,
  v.
  BENEDICT THOMPSON, OLIVER READ,
  EDWARD J. THOMPSON, CLAIRE
  L. THOMPSON, PAUL READ, and HAZEL
  DAVINA WELLS,
                 Defendants.


                         DECLARATION OF ANDREW SCHOBER




        1.     I, Andrew Schober, pursuant to 28 U.S.C. § 1746, hereby declare under

  penalty of perjury under the laws of the United States of America that the following is

  true and correct, unless stated upon information and belief:

        2.     I am the Plaintiff in this action, and currently reside in Boulder, Colorado.

  This declaration is based upon my personal knowledge of the matters set forth herein.

        3.     I respectfully submit this declaration in support of my Cross Motion for

  Summary Judgment.

        4.     I have worked as a Licensed Massage Therapist since 2013.

        5.     In 2020, I became board-certified as an Open-Source Intelligence (OSINT)

  analyst through the McAfee Institute. I also received the Open-Source Intelligence

  Professional Certification through the IntelTechniques online training and through the

  Automating OSINT with Python course offered by Dark River Systems.




                                              1
Case No. 1:21-cv-01382-GPG-NRN Document 97-10 filed 07/20/23 USDC Colorado pg 3
                                    of 5




         6.     I first bought Bitcoin in early 2014, investing $10 to $100 periodically until

  2018. My largest purchase was $1,000 on my 30th birthday. Due to the increasing value

  of Bitcoin over time, by January 2018 these small investments constituted the vast

  majority of my net wealth.

         7.     My long term vision and intention was to use my Bitcoin funds to buy a

  house and go back to school.

         8.     I purchased my ASUS laptop in 2016 with Malwarebyte anti-virus

  protection.

         9.     I was not aware of “clipboard-hijacking” malware in January 2018. I

  subsequently learned that the Malware was apparently novel in the cryptocurrency

  domain.

         10.    I have never been to the United Kingdom. The burden of traveling to the

  United Kingdom, or attempting to litigate my claims there, would be significant for me.

         11.    I first connected with Dr. Nicolas Bax (Nick) on the “r/Monero” “subreddit”

  on Reddit.com. Nick informed me that he was employed full-time as a Ph.D. candidate

  at Stanford University, and he was a professional blockchain analyst for a company

  called, Merkle Data.

         12.    At my direction, two professional malware analysts examined the

  Malware, and neither analyst could find any data or information that might lead to the

  identification of any person responsible. I informed the FBI of the results.

         13.    In February 2018, I turned my laptop over to the FBI for further analysis of

  the Malware and my computer.




                                               2
Case No. 1:21-cv-01382-GPG-NRN Document 97-10 filed 07/20/23 USDC Colorado pg 4
                                    of 5




        14.     I did not learn of the connection between the operator of the Malware and

  the stolen Bitcoin, until November 2019, after I discovered a feature in the Shapeshift

  API. I learned of this connection after spending between 1,000 to 2,000 hours

  conducting online investigations: uncovering social media posts, searching online

  forums, examining GitHub (code repository) logs, learning how to trace different

  cryptocurrency blockchains through public APIs, learning the Python scripting language,

  and acquiring and applying various other Open-Source Intelligence tools and

  techniques.

        15.     I learned a technique for looking up cryptocurrency transaction data

  through ShapeShift’s public API, and I spent no less than 100 hours developing

  software code (a script) that I could use to help me look for a connection between an

  identifiable person and the Vanity Address, which Nick and I had uncovered using

  Shapeshift’s API.

        16.     The key information that led me to uncover the identities of Defendants

  Benedict Thompson and Oliver Read (neither of whom have uncommon names in

  England) were the public online posts and comments to the web forums Reddit, GitHub,

  Twitter, the Bitcoin Developer Mailing List, and Keybase.io. These posts referenced

  information that I cross-verified with blockchain transaction records involving the

  Malware addresses, the Bitfinex and ShapeShift exchange platforms, and the

  cryptocurrency   addresses    controlled   by   Benedict   Thompson. Later, the FBI

  corroborated my findings.

        17.     I spent $2,009 to replace my ASUS laptop.

        18.     I spent $3,800 on my various OSINT trainings and certifications.




                                              3
Case No. 1:21-cv-01382-GPG-NRN Document 97-10 filed 07/20/23 USDC Colorado pg 5
                                    of 5




        19.   I spent $5,000 to serve all Defendants.

        20.   I have spent in excess of $50,000 in legal fees to date.




  Dated: 6/19/2023        Andrew Schober
                           ANDREW SCHOBER




                                            4
